Case 9:11-cr-00033-MAC-ZJH           Document 263         Filed 11/09/11      Page 1 of 5 PageID #:
                                            633



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 9:11-CR-33(8)
                                                  §
                                                  §
 KRYSTAL NICOLE SLUSHER                           §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 8, 2011, this case came before the undersigned United States Magistrate Judge

 for entry of a guilty plea by the Defendant, Krystal Nicole Slusher, to Count One-hundred and three

 (103) of the Indictment. Count One-hundred and three of the Indictment alleges that on or about

 May 1, 2010, Krystal Nicole Slusher did knowingly and intentionally possess pseudoephedrine, a

 List 1 chemical, with intent to manufacture a controlled substance, or with knowledge or reasonable

 cause to believe that the listed chemical would be used for the unauthorized manufacture of a

 controlled substance, namely a mixture or substance containing detectable amount of

 methamphetamine, in violation of 21 U.S.C. 841(c)(1) and (c)(2) (Possession of a List 1 Chemical).

        The Defendant, Krystal Nicole Slusher, entered a plea of guilty to Count One-hundred and

 three of the Indictment into the record at the hearing. After conducting the proceeding in the form

                                                 -1-
Case 9:11-cr-00033-MAC-ZJH                     Document 263              Filed 11/09/11            Page 2 of 5 PageID #:
                                                      634



 and manner prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with her attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.        That the Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

 verified that she understood the terms of the plea agreement, agreed with the Government’s summary

 of the plea agreement, and acknowledged that it was her signature on the plea agreement. To the

 extent the plea agreement contains recommendations and requests pursuant to FED . R. CRIM . P. 11

 (c)(1)(B), the court advised the Defendant that she has no right to withdraw the plea if the Court does

 not follow the particular recommendations or requests. To the extent that any or all of the terms of

 the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that she will have the opportunity to withdraw her plea of guilty should the Court not follow those

 particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that



          1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . R. C R IM . P. 11(c)(3)-(5).

                                                               -2-
Case 9:11-cr-00033-MAC-ZJH            Document 263         Filed 11/09/11      Page 3 of 5 PageID #:
                                             635



 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

 of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally in

 open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and did

 not result from force, threats or promises (other than the promises set forth in the plea agreement).

 See FED . R. CRIM . P. 11(b)(2).

        d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 her conduct falls within the definition of the crime charged under 21 U.S.C. § 841(c)(2).

                                    STATEMENT OF REASONS

        As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Krystal Nicole

 Slusher is one and the same person charged in the Indictment and that the events described in the

 Indictment occurred in the Eastern District of Texas and elsewhere. The Government would also

 have proven, beyond a reasonable doubt, each and every essential element of the offense as alleged

 in Count One-hundred and three of the Indictment through the testimony of witnesses, including

 expert witnesses, and admissible exhibits. In support of the Defendant’s plea, the undersigned

 incorporates the proffer of evidence described in detail in the factual basis and stipulation filed in

 support of the plea agreement, and the Defendant’s admissions made in open court in response to the

 undersigned’s further inquiry into the factual basis and stipulation.

        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented by

 the Government and personally testified that she was entering her guilty plea knowingly, freely and

                                                   -3-
Case 9:11-cr-00033-MAC-ZJH            Document 263        Filed 11/09/11       Page 4 of 5 PageID #:
                                             636



 voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate Judge

 that the District Court accept the Guilty Plea of the Defendant which the undersigned determines to

 be supported by an independent factual basis establishing each of the essential elements of the offense

 charged in Count One-hundred and three of the Indictment. It is also recommended that the District

 Court defer accepting the plea agreement until the District Court has reviewed the presentence report.

 Accordingly, it is further recommended that the District Court finally adjudge the Defendant, Krystal

 Nicole Slusher, guilty of the charged offense under Title 21, United States Code, Sections 841(c)(2).

        The District Court should defer its decision to accept or reject the plea agreement until there

 has been an opportunity to review the presentence report. If the plea agreement is rejected and the

 Defendant still persists in the guilty plea, the disposition of the case may be less favorable to the

 Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to the

 United States Probation Department for the preparation of a presentence report. The Defendant has

 the right to allocute before the District Court before imposition of sentence.

                                            OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional



                                                  -4-
Case 9:11-cr-00033-MAC-ZJH            Document 263        Filed 11/09/11       Page 5 of 5 PageID #:
                                             637



 safeguards afforded by Congress and the courts require that, when a party takes advantage of her right

 to object to a magistrate’s findings or recommendation, a district judge must exercise its nondelegable

 authority by considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



       SIGNED this 9th day of November, 2011.




                                                     _________________________
                                                     Zack Hawthorn
                                                     United States Magistrate Judge




                                                  -5-
